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                                 In the
               United States Court of Appeals
                        For the Eleventh Circuit

                         ____________________

                              No. 23-13698
                         ____________________

      COIN CENTER,
      PATRICK O'SULLIVAN,
      JOHN DOE,
      DAVID HOFFMAN,
                                                  Plaintiffs-Appellants,
      versus
      SECRETARY, U.S. DEPARTMENT OF THE TREASURY,
      U.S. DEPARTMENT OF THE TREASURY,
      DIRECTOR OF THE OFFICE OF FOREIGN ASSETS
      CONTROL,
      OFFICE OF FOREIGN ASSETS CONTROL,


                                                Defendants-Appellees.


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      2                      Order of the Court                23-13698

                Appeal from the United States District Court
                    for the Northern District of Florida
                 D.C. Docket No. 3:22-cv-20375-TKW-ZCB
                         ____________________

      ORDER:
             The motion for an extension of time to and including March
      4, 2024 to file Appellees’ response brief is GRANTED, with the ap-
      pendix, if any, due 7 days after the filing of the brief.




                                /s/ Charles R. Wilson
                                UNITED STATES CIRCUIT JUDGE
